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 5
                                   UNITED STATES DISTRICT COURT
 6                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
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 8       PARAMJIT SINGH BASRA,

 9                                 Petitioner,              CASE NO. C18-186-TSZ-BAT

10            v.                                            ORDER DIRECTING CLERK TO
                                                            SEND SUPPLEMENTAL ANSWER
11       STEPHEN SINCLAIR,                                  AND RESETTING BRIEFING
                                                            SCHEDULE
12                                 Respondent.

13           On December 18, 2020, respondent provided notice that petitioner refused to accept the

14   supplemental answer and the notification of filing the supplemental record. 1 Dkt. 38 (referring to

15   Dkts. 36, 37). On January 12, 2021, petitioner signed a sworn declaration in which he stated that

16   he had not received the supplemental answer and therefore was unable to prepare a response.

17           The Court DIRECTS the Clerk to send a copy of the supplemental answer, Dkt. 36, to

18   petitioner. The Court resets the briefing schedule as follows:

19                 •   Petitioner should file a response to the answer by February 12, 2021;

20                 •   Respondent should file an optional reply brief by February 26, 2021;

21                 •   The habeas petition should be noted for consideration on February 26, 2021.

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      Respondent noted that only the notice of electronic filing of the supplemental record was to
     printed because a paper copy of the supplemental record would be served on petitioner. Dkt. 37.
     ORDER DIRECTING CLERK TO SEND
     SUPPLEMENTAL ANSWER AND
     RESETTING BRIEFING SCHEDULE - 1
          Case 2:18-cv-00186-TSZ-BAT Document 40 Filed 01/12/21 Page 2 of 2




 1        DATED this 12th day of January, 2021.

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 3                                                A
                                                  BRIAN A. TSUCHIDA
 4                                                Chief United States Magistrate Judge

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     ORDER DIRECTING CLERK TO SEND
     SUPPLEMENTAL ANSWER AND
     RESETTING BRIEFING SCHEDULE - 2
